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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

 Case No.: 5:19-02311 JWH (ADS)                                 Date: January 5, 2022
 Title:_Falls v. Vernal, et al.


 Present: The Honorable Autumn D. Spaeth, United States Magistrate Judge


                Kristee Hopkins                               None Reported
                 Deputy Clerk                            Court Reporter / Recorder

     Attorney(s) Present for Plaintiff(s):         Attorney(s) Present for Defendant(s):
               None Present                                    None Present

 Proceedings:          (IN CHAMBERS) ORDER SETTING TELEPHONIC
                       HEARING ON MOTION FOR EXTENSION OF TIME

        Before the Court is a Motion for Extension of Time filed by Plaintiff Aaron A.
 Falls. (Dkt. No. 78.) This motion relates to Defendants’ Motion to Dismiss Third
 Amended Complaint, which was filed on June 22, 2021. (Dkt. No. 56.)

        The Court hereby sets a telephonic hearing on the Motion for Extension of Time
 for February 9, 2022 at 10:00 a.m. Call information will be provided separately.

        IT IS SO ORDERED.




                                                                       Initials of Clerk kh




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